                                                                                  Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 1 of 17



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6
                                                                          7                             IN THE UNITED STATES DISTRICT COURT
                                                                          8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9                                          SAN JOSE DIVISION
                                                                         10                                                       NO. C 06-01407 JW
                                                                                                                                  NO. C 06-01730 JW
                                                                         11                                                       NO. C 06-02202 JW
United States District Court




                                                                               In re County of Monterey Initiative Matter,        NO. C 06-02369 JW
                               For the Northern District of California




                                                                         12
                                                                               In re Monterey Referendum.                         ORDER DENYING RANGEL
                                                                         13                                                       PLAINTIFFS’ REQUEST FOR THE
                                                                                                                                  CONVENING OF A THREE JUDGE
                                                                         14                                                       COURT; GRANTING THE MELENDEZ
                                                                                                                                  AND THE RANCHO SAN JUAN
                                                                         15                                                       OPPOSITION COALITION PLAINTIFFS’
                                                                                                                                  MOTION FOR SUMMARY JUDGMENT;
                                                                         16                                                       AND ORDERING THE COUNTY OF
                                                                                                                                  MONTEREY TO SUBMIT THE
                                                                         17                                                       INITIATIVE AND REFERENDUM TO
                                                                                                                                  VOTERS OF MONTEREY COUNTY AT
                                                                         18                                                       THE JUNE 5, 2007 COUNTY ELECTION
                                                                         19                                                  /
                                                                         20                                          I. INTRODUCTION
                                                                         21          Monterey County is subject to the federal Voting Rights Act of 1965, 42 U.S.C. §§ 1973 et
                                                                         22   seq. Under the Act, whenever Monterey County provides voting materials it must do so in English
                                                                         23   and Spanish. These consolidated cases involve citizen-sponsored petitions and materials which were
                                                                         24   approved by the County for circulation to see if the required number of signatures of registered
                                                                         25   voters could be obtained. The petitions and associated materials were in English only. On cross-
                                                                         26   motions for summary judgment, the Court is asked to decide whether as a matter of law, English-
                                                                         27   only citizen-sponsored petitions and materials in Monterey County are unlawful under the Voting
                                                                         28   Rights Act.
                                                                                   Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 2 of 17



                                                                          1          Based on the en banc ruling in Padilla v. Lever, 463 F.3d 1046 (9th Cir. 2006), the Court
                                                                          2   finds that citizen-sponsored petitions in Monterey County are not required to be in Spanish and
                                                                          3   English. Consequently, the motion for summary judgment should be granted ordering the County of
                                                                          4   Monterey to submit (1) the Monterey County Quality of Life, Affordable Housing, and Voter
                                                                          5   Control Initiative and (2) the Referendum Against Resolution No. 05-305, in their entirety and
                                                                          6   without alteration to the voters of Monterey County at the June 5, 2007 county election.
                                                                          7                                           II. BACKGROUND
                                                                          8          This action involves two sets of consolidated cases:
                                                                          9          (A)     Rosario Madrigal, et al., v. The County of Monterey, et al., C 06-01407 JW and
                                                                         10                  William Melendez, et al., v. Board of Supervisors of the County of Monterey, et al.,
                                                                         11                  C 06–1730 consolidated as “In re County of Monterey Initiative Matter.”
United States District Court
                               For the Northern District of California




                                                                         12          (B)     Sabas Rangel, et al., v. County of Monterey, et al., C 06-02202 JW and Rancho San
                                                                         13                  Juan Opposition Coalition, et al., v. Board of Supervisors of the County of Monterey,
                                                                         14                  et al., C 06-02369 consolidated as “In re Monterey Referendum.”
                                                                         15          The material facts in each of the consolidated cases are not in dispute.1 The Court
                                                                         16   summarizes the relevant facts in each of the consolidated cases for the purposes of this Order:
                                                                         17   A.     In re County of Monterey Initiative Matter
                                                                         18          A group of citizens in Monterey County circulated an initiative petition (the “Initiative”)
                                                                         19   which, if passed, would amend certain zoning and land development provisions of the Monterey
                                                                         20   County General Plan and would require a public election for future zoning changes.
                                                                         21          In January of 2006, the proponents of the Initiative filed a notice of their intent to circulate
                                                                         22   the petition and a copy of the proposed Initiative with the County Elections Department. The
                                                                         23   County approved the form and content of the petition for circulation among voters and provided the
                                                                         24
                                                                         25
                                                                                     1
                                                                                       The facts here are summarized from the Court’s March 23, 2006 Order Re: Motion for
                                                                         26   Injunctive Relief and Declaratory Judgments (See Docket Item No. 26, C 06-01407) and August 15,
                                                                              2006 Order Denying [Rancho] Plaintiffs’ Motion for a Preliminary Injunction and Staying Action.
                                                                         27   (See Docket Item No. 34, C 06-02369.)
                                                                         28                                                      2
                                                                                   Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 3 of 17



                                                                          1   approved petition, Title and Summary materials to the proponents for publication in a newspaper
                                                                          2   and for circulation to registered voters. All of these materials were only printed in English.
                                                                          3           On February 24, 2006, a group of Spanish-speaking citizens (the “Madrigal Plaintiffs”) filed
                                                                          4   a lawsuit against Monterey County in this Court. The Madrigal Plaintiffs asked for a declaratory
                                                                          5   judgment that the English-only materials violated the Voting Rights Act. The Madrigal Plaintiffs
                                                                          6   requested an injunction against further processing of the Initiative.
                                                                          7           On February 28, 2006, after receiving a legal report addressing procedural and substantive
                                                                          8   concerns with respect to the content and form of the Initiative under both federal and California law,
                                                                          9   including the lack of English and Spanish materials, the Board of Supervisors voted not to place the
                                                                         10   Initiative on the ballot.
                                                                         11           On March 1, 2006, the proponents of the initiative (the “Melendez Plaintiffs”) filed a
United States District Court
                               For the Northern District of California




                                                                         12   mandamus action in the Superior Court of the County of Monterey to compel the County to place the
                                                                         13   Initiative on the ballot. Since the requisite number of qualified signatures had been obtained, the
                                                                         14   Melendez Plaintiffs alleged that the County had a ministerial duty to place the Initiative on the
                                                                         15   ballot. On March 7, 2006, Monterey County removed the Melendez action to this Court citing as a
                                                                         16   basis of subject matter jurisdiction 28 U.S.C. § 1443(2), alleging that it refused to place the Initiative
                                                                         17   on the ballot because the Initiative was inconsistent with the Voting Rights Act.
                                                                         18   B.      In re Monterey Referendum
                                                                         19           On November 7, 2005, the Monterey County Board of Supervisors (“Board”) passed a
                                                                         20   resolution to amend certain provisions of the Monterey County General Plan, the Greater Salinas
                                                                         21   Area Land Use Plan, and the Rancho San Juan Area of Development Concentration Development
                                                                         22   Guidelines and Principles (“Resolution”). The Plaintiffs in the Rancho San Juan Opposition
                                                                         23   Coalition action (“Rancho Plaintiffs”) began circulating a referendum against the Board’s
                                                                         24   Resolution (“Referendum”). The Referendum materials were only printed in English.
                                                                         25           The Board initially ordered that the Referendum be placed on the June 2006 ballot. In
                                                                         26   response, on March 27, 2006, Plaintiffs Sabas Rangel and Maria Buell (collectively, the “Rangel
                                                                         27   Plaintiffs”) filed this in the Northern District of California. The Rangel Plaintiffs seek, inter alia, a
                                                                         28                                                       3
                                                                                   Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 4 of 17



                                                                          1   declaration pursuant to 28 U.S.C. §§ 2201 and 2202 that the Referendum is invalid under Section
                                                                          2   203 of the Voting Rights Act because it was printed and circulated only in English.
                                                                          3          On March 28, 2006, the Board withdrew the Referendum from the June ballot, citing the
                                                                          4   Ninth Circuit’s initial decision in Padilla v. Lever, 429 F.3d 910 (9th Cir. 2005), opinion withdrawn,
                                                                          5   446 F.3d 963 (2006). On April 3, 2006, the Rancho action was filed seeking declaratory and
                                                                          6   injunctive relief to compel the Board to put the Referendum to voters at the next election. On
                                                                          7   August 15, 2006, the Court stayed the action pending the Ninth Circuit’s en banc review of the
                                                                          8   panel’s decision in Padilla.
                                                                          9   C.     Procedural History
                                                                         10          The Court consolidated the two suits as “In re Initiative Matter.” On March 23, 2006,
                                                                         11   pursuant to the holding of Padilla v. Lever, 429 F.3d 910 (9th Cir. 2005), opinion withdrawn, 446
United States District Court
                               For the Northern District of California




                                                                         12   F.3d 963 (2006), the Court permanently enjoined the County for processing, certifying or adopting
                                                                         13   the Initiative and from placing it on a ballot for a future County election unless or until first
                                                                         14   properly circulating it in compliance with the Voting Rights Act. (See Docket Item No. 26, 06-
                                                                         15   01470.)
                                                                         16          The Melendez and Rancho Plaintiffs appealed the Court’s Orders enjoining the County from
                                                                         17   placing the Initiative and the Referendum on the ballot.
                                                                         18          In September of 2006, the Ninth Circuit issued its en banc ruling in Padilla. Following this
                                                                         19   ruling, all parties to this litigation filed cross-motions for summary judgment that are currently
                                                                         20   before the Court. (See Docket Item Nos. 23, 26, 28, 29, 51, 52, 55, 57, 60, consolidated cases C 06-
                                                                         21   01407 and C 06-02202.) With respect to those motions, Rangel Plaintiffs filed a motion entitled: A
                                                                         22   Request for the Convening of a Three-Judge Court.
                                                                         23          On February 6, 2007, the Madrigal Plaintiffs voluntarily dismissed their action against the
                                                                         24   County, without prejudice. Thus, the only case left in the In re County of Monterey Initiative Matter
                                                                         25   is the Rancho San Juan Opposition Coalition, et al., v. Board of Supervisors of the County of
                                                                         26   Monterey, et al., C 06-02369.
                                                                         27
                                                                         28                                                       4
                                                                                   Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 5 of 17



                                                                          1           Before the Court are the following issues to be decided:
                                                                          2           1)      The Rangel Plaintiffs’ motion for the convening of a three-judge panel to hear the
                                                                          3                   motions regarding the Referendum matter.
                                                                          4           2)      The Rancho Plaintiffs’ request to enjoin the County either to repeal Resolution No.
                                                                          5                   05-305 in its entirety or to submit the Referendum Against Resolution No. 05-305,
                                                                          6                   without alteration, to the voters of Monterey County at the June 5, 2007 county
                                                                          7                   election.
                                                                          8           3)      The Melendez Plaintiffs’ request to remand the case to state court or in the
                                                                          9                   alternative, compel the County to enact the Initiative entitled “The Monterey County
                                                                         10                   Quality of Life, Affordable Housing, and Voter Control Initiative” in its entirely or to
                                                                         11                   submit the Initiative, without alteration, to the voters on Monterey County at the June
United States District Court
                               For the Northern District of California




                                                                         12                   5, 2007 county election.
                                                                         13           4)      The County’s request for the Court to dismiss the Melendez case since the
                                                                         14                   controversy has been mooted by a promise to place the Initiative on the June 2007
                                                                         15                   ballot.
                                                                         16           As a preliminary matter, in all four lawsuits, the Defendants are the County of Monterey,
                                                                         17   Board of Supervisors of the County of Monterey, and Tony Anchundo, in his capacity as Monterey
                                                                         18   County Registrar of Voters. Suits against an official in her or his official capacity are treated as suits
                                                                         19   against the entity on whose behalf that official acts. In such suits, the real party in interest is the
                                                                         20   government on whose behalf that official acts. Hafer v. Melo, 502 U.S. 21, 25 (1991). Accordingly,
                                                                         21   on its own motion, the Court dismisses the Board of Supervisors and Tony Anchundo as Defendants,
                                                                         22   leaving these actions as ones against the County of Monterey.
                                                                         23                                              III. DISCUSSION
                                                                         24   A.      The Rangel Plaintiffs’ Motion for the Convening of a Three Judge Court
                                                                         25           The Rangel Plaintiffs contend that this case requires a three-judge court pursuant to Section
                                                                         26   204 of the Voting Rights Act, 42 U.S.C. § 1973aa-2, which authorizes the Attorney General to
                                                                         27
                                                                         28                                                        5
                                                                                  Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 6 of 17



                                                                          1   institute an action to enforce Section 203.2 (Plaintiffs Rangel, Et Al., Memorandum of Points and
                                                                          2   Authorities in Support of Their Request for the Convening of a Three Judge Court at 4, hereafter,
                                                                          3   “Motion,” Docket Item No. 44.) The Rancho Plaintiffs oppose their request, contending (1) there is
                                                                          4   no authority for an expansive interpretation of Section 204 to cover private actions, given that the
                                                                          5   statutory language refers only to actions instituted by the Attorney General in the name of the United
                                                                          6   States and (2) if a three-judge district court is necessary at all, it is required only in the Rangel case,
                                                                          7   as the Rancho Plaintiffs’ suit is based on California law rather than the Voting Rights Act. (Rancho
                                                                          8   San Juan Opposition Coalition’s Opposition to Rangel Plaintiffs’ Request for the Convening of a
                                                                          9   Three Judge Court at 2-4, hereafter, “Opposition,” Docket Item No. 45.) Since the Rangel Plaintiffs
                                                                         10   are the only party requesting a three-judge court, and only the Rangel action was filed pursuant to
                                                                         11   the Voting Rights Act, the Court’s analysis concerns only whether the Rangel action necessitates the
United States District Court
                               For the Northern District of California




                                                                         12   convening of a three-judge district court.
                                                                         13           1.      The Voting Rights Act
                                                                         14           Section 203 of the Voting Rights Act was enacted by Congress to address the effective
                                                                         15   exclusion of language minorities from participation in the electoral process. 42 U.S.C. § 1973aa-1a.
                                                                         16   The section bars covered states or political subdivisions from providing voting materials3 in English
                                                                         17   only. 42 U.S.C. § 1973aa-1a(b)(1). Covered political subdivisions include those where (1) more
                                                                         18   than five percent of voting age citizens are limited-English proficient and members of a single
                                                                         19   language minority and (2) the illiteracy of the citizens in the language minority as a group is higher
                                                                         20   than the national illiteracy rate. 42 U.S.C. § 1973aa-1a(b)(2)(A).
                                                                         21           Section 204 of the Voting Rights Act authorizes the Attorney General to bring suit for
                                                                         22   equitable relief on behalf of the United States against a state or political subdivision that seeks to
                                                                         23   deny the right to vote in an election in violation of Section 203. 42 U.S.C. § 1973aa-2. Section 204
                                                                         24
                                                                                      2
                                                                                       The County Defendants do not oppose the Rangel Plaintiffs’ request for a three-judge
                                                                         25   court. (See Docket Item No. 46.)
                                                                         26           3
                                                                                       Voting materials include registration or voting notices, forms, instructions, assistance, or
                                                                              other materials or language relating to the electoral process, including ballots. 42 U.S.C. § 1973aa-
                                                                         27   1a(c).
                                                                         28                                                        6
                                                                                  Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 7 of 17



                                                                          1   provides that “[a]n action under this subsection” shall be heard by a court of three judges in
                                                                          2   accordance with 28 U.S.C. § 2284. Id.
                                                                          3          2.      Three Judge Panel
                                                                          4                  a.      Rangel Plaintiffs’ Basis for Suit
                                                                          5          A seminal question is the jurisdictional basis for the Court to hear the Voting Rights Act
                                                                          6   component of the Rangel Plaintiffs’ action. In their complaint, the Rangel Plaintiffs invoke
                                                                          7   jurisdiction pursuant to, inter alia, 28 U.S.C. § 1343 and 42 U.S.C. § 1973aa-1a (Section 203 of the
                                                                          8   Voting Rights Act). (Complaint for Declaratory and Injunctive Relief ¶¶ 25-34, Docket Item No. 1.)
                                                                          9          Congress granted the district courts exclusive jurisdiction of “any civil action authorized by
                                                                         10   law” to be commenced by any person “[t]o recover damages or to secure equitable or other relief
                                                                         11   under any Act of Congress providing for the protection of civil rights, including the right to vote.”
United States District Court
                               For the Northern District of California




                                                                         12   28 U.S.C. § 1343. Thus, the relevant section of the Voting Rights Act must authorize private
                                                                         13   litigants to secure the relief they seek. See Allen v. State Bd. of Elec., 393 U.S. 544, 554 (1969).
                                                                         14          The parties do not cite, nor has the Court found, any case that has explicitly held that a
                                                                         15   private right of action exists to redress violations of Section 203 of the Voting Rights Act. However,
                                                                         16   the Ninth Circuit, en banc, recently entertained a Section 203 action brought by private plaintiffs,
                                                                         17   without explicitly stating the jurisdictional basis for the action. See Padilla v. Lever, 463 F.3d 1046
                                                                         18   (9th Cir. 2006). Following Padilla, the Court holds that it has jurisdiction to hear a Section 203
                                                                         19   action brought by private plaintiffs.
                                                                         20                  b.      Section 204 and the Three-Judge Court Requirement
                                                                         21          The next issue is whether private plaintiffs have a right to bring suit specifically under
                                                                         22   Section 204 of the Voting Rights Act.4 As previously described, Section 204, by its plain terms,
                                                                         23   authorizes only suits brought by the United States Attorney General. The thrust of the Rangel
                                                                         24
                                                                         25
                                                                                     4
                                                                                        The Court construes Section 204's requirement of a three-judge court for “[a]n action under
                                                                         26   this subsection,” to refer to actions brought specifically under Section 204. Thus, whether the
                                                                              Rangel Plaintiffs have a statutory right to a three-judge court depends on whether the Rangel action
                                                                         27   arises under Section 204.
                                                                         28                                                      7
                                                                                  Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 8 of 17



                                                                          1   Plaintiffs’ argument is that they are entitled to a three-judge court by analogy to the Supreme Court’s
                                                                          2   Section 5 jurisprudence in Allen. (Motion at 4-7.)
                                                                          3          In Allen, private individuals brought suit alleging that amendments to certain Virginia and
                                                                          4   Mississippi election laws fell within the purview of Section 5 of the Voting Rights Act. As such, the
                                                                          5   plaintiffs alleged, the states were required to comply with the Act’s approval procedures prior to
                                                                          6   enforcing the laws.5 393 U.S. at 547-49.
                                                                          7          The Supreme Court first addressed the threshold question whether private litigants could
                                                                          8   bring suit under Section 5 of the Voting Rights Act. Id. at 554. Then-Chief Justice Warren, writing
                                                                          9   for the majority, found that Section 5 of the Act was among a group of federal statutes passed to
                                                                         10   protect a particular class of citizens. Id. at 557. Though the section did not specifically authorize
                                                                         11   members of the protected class to initiate suit, the Court held that an implied private right of action
United States District Court
                               For the Northern District of California




                                                                         12   existed. Id. To reach this holding, the Court considered the following four factors. First, the Court
                                                                         13   held that the language of Section 5 that describes an individual right (“no person shall be denied the
                                                                         14   right to vote for failure to comply . . .”), considered with the major purposes of the Act, supported a
                                                                         15   private right of action. Id. at 555. Second, the Court noted that Congress had not chosen to
                                                                         16   explicitly exclude private actions.6 Id. Third, the Court highlighted the limited nature of the implied
                                                                         17   private right of action that it had found. Specifically, the only issue in a Section 5 suit brought by a
                                                                         18   private plaintiff is whether a state must submit new voting legislation for approval. Substantive
                                                                         19   questions, such whether the state’s new legislation actually had a discriminatory purpose or effect,
                                                                         20
                                                                         21          5
                                                                                       Section 5 of the Act restricts covered states’ ability to pass a voting qualification,
                                                                              prerequisite, standard, practice, or procedure different from those in effect on November 1, 1964.
                                                                         22   Specifically, no person can be deprived of his or her right to vote for failure to comply with the new
                                                                              enactment until the state seeks and receives a declaratory judgment from the United States District
                                                                         23   Court for the District of Columbia that the new enactment will not deny or abridge the right to vote
                                                                              based on race or color. 42 U.S.C. § 1973c.
                                                                         24
                                                                                     6
                                                                                        The Supreme Court also held that 28 U.S.C. § 1343, in conjunction with Section 12(f) of
                                                                         25   the Act, 42 U.S.C. § 1973j(f), “might be viewed as authorizing private actions.” Section 12(f)
                                                                              provides, “The district courts of the United States shall have jurisdiction of proceedings instituted
                                                                         26   pursuant to this section and shall exercise the same without regard to whether a person asserting
                                                                              rights under the provisions of subchapters I-A to I-C of this chapter shall have exhausted any
                                                                         27   administrative or other remedies that may be provided by law.”
                                                                         28                                                       8
                                                                                  Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 9 of 17



                                                                          1   would not be decided in the private action.7 Id. at 555 n.19. Lastly, the Court found that the broad
                                                                          2   purposes of the Voting Rights Act could not be fulfilled if the Attorney General had sole discretion
                                                                          3   whether to institute litigation. With the Attorney General’s “limited staff,” he or she might often be
                                                                          4   unable to uncover quickly the new regulations and enactments passed at the various levels of state
                                                                          5   government. Thus, an implied private right of action was necessary to ensure that Section 5's
                                                                          6   guarantees did not prove an “empty promise.” Id. at 556-57.
                                                                          7           Having found that the plaintiffs had an implied private right of action, the Court next
                                                                          8   considered whether their suit was properly heard by a three-judge district court – that is, whether
                                                                          9   there was a statutory basis to convene a three-judge court. Id. at 560-61. Section 5 provides, “Any
                                                                         10   action under this section shall be heard and determined by a court of three judges . . .” 42 U.S.C. §
                                                                         11   1973c (emphasis added). Under the Court’s interpretation, three types of Section 5 suits were
United States District Court
                               For the Northern District of California




                                                                         12   possible: (1) a suit brought by the State for a declaratory judgment; (2) a suit brought by an
                                                                         13   individual for a declaratory judgment and injunctive relief, claiming that the state legislation subject
                                                                         14   to Section 5 must be submitted for federal scrutiny; and (3) a suit for injunctive relief brought by the
                                                                         15   Attorney General to prohibit the enforcement of a new regulation because of the state’s failure to
                                                                         16   obtain Section 5 approval. Id. at 561. The Court held that all of these suits were brought “under”
                                                                         17   Section 5 a; the Court held separately that the words “under this section” authorized a three-judge
                                                                         18   court in all three types of cases. Id.
                                                                         19           The Court considered reasons against extending the three-judge court requirement beyond
                                                                         20   the plain language of Section 5. Id. First, convening a three-judge court burdens the federal system
                                                                         21   and often delays matters requiring swift adjudication. Second, the decisions of three-judge district
                                                                         22   courts are directly appealable to the Supreme Court, which deprives the Supreme Court of the “wise
                                                                         23   and often crucial adjudication” of the intermediate appellate courts. Id. at 561-62. Accordingly,
                                                                         24
                                                                         25
                                                                                      7
                                                                                       For the same reason, the Court held that Section 14(b)’s requirement that actions be
                                                                         26   brought in the District Court for the District of Columbia applied only to actions brought by the
                                                                              government. Private litigants could bring “coverage” litigation in any proper federal district court
                                                                         27   pursuant to Section 12 of the Act and 28 U.S.C. § 1343(4). Id. at 557-560.
                                                                         28                                                      9
                                                                                 Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 10 of 17



                                                                          1   congressional enactments providing for the convening of three-judge courts are strictly construed.
                                                                          2   Id. (citing Phillips v. United States, 312 U.S. 246 (1941)).
                                                                          3          On the other hand, the Court acknowledged that Congress had legitimate reasons for
                                                                          4   adopting three-judge court legislation. Id. Congress has determined that three-judge courts are
                                                                          5   desirable in particular circumstances involving confrontations between federal and state power or in
                                                                          6   circumstances involving a potential for substantial interference with government administration. Id.
                                                                          7   at 562. Specifically with respect to Section 5, the Supreme Court held:
                                                                          8          The problems [of federal supervision over the enforcement of state legislation] are
                                                                                     especially difficult where the enforcement of state enactments may be enjoined and
                                                                          9          state election procedures suspended because the state has failed to comply with a
                                                                                     federal approval procedure . . . In drafting § 5, Congress apparently concluded that if
                                                                         10          the governing authorities of a State differ with the Attorney General of the United
                                                                                     States concerning the purpose or effect of a change in voting procedures, it is
                                                                         11          inappropriate to have that difference resolved by a single district judge. The clash
United States District Court




                                                                                     between federal and state power and the potential disruption to state government are
                               For the Northern District of California




                                                                         12          apparent.
                                                                         13   Id. The Court found that there exists “no less a clash and potential for disruption” when the issue is
                                                                         14   whether a state enactment is subject to Section 5. Id. Accordingly, given the “extraordinary nature
                                                                         15   of the Act in general, and the unique approval requirements of § 5,” Congress intended that all
                                                                         16   disputes involving Section 5 coverage be determined by a district court of three judges. Id.
                                                                         17          There are several substantive differences between Allen and this Section 203 action brought
                                                                         18   by private litigants. First, the Supreme Court made explicit the source of the statutory authority to
                                                                         19   hear a Section 5 action brought by a private plaintiff: Section 5 itself, the same section that provided
                                                                         20   for a three-judge court. In contrast, no federal court has held that the statutory authority to hear a
                                                                         21   Section 203 action brought by a private plaintiff is Section 204. Second, the extent of the
                                                                         22   confrontation between federal and state power is much less in a Section 203 case than in a Section 5
                                                                         23   case. Section 5 regulates covered states’ ability to adjust their voting procedures, a substantial
                                                                         24   intrusion on state sovereignty. In contrast, a Section 203 action only requires that the covered state
                                                                         25   make voting materials available in languages other than English. Thus, the policy reasons that
                                                                         26   existed in Allen for finding a statutory right to a three-judge court do not exist here.
                                                                         27
                                                                         28                                                      10
                                                                                   Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 11 of 17



                                                                          1           On the other hand, the policies against convening a three-judge court identified by the
                                                                          2   Supreme Court in Allen are applicable here. A three-judge court would delay the resolution of this
                                                                          3   dispute. Additionally, the appeal from decision of a three-judge district court is directly to the
                                                                          4   Supreme Court. See 28 U.S.C. § 1253. Accordingly, as noted disapprovingly by the Allen Court,
                                                                          5   the Supreme Court would be deprived of the benefit of the Ninth Circuit’s adjudication in this case.
                                                                          6           The Court finds that the Rangel Plaintiffs’ suit does not arise under Section 204 of the Voting
                                                                          7   Rights Act. Accordingly, the Rangel Plaintiffs are not entitled to litigate this case before a three-
                                                                          8   judge court.
                                                                          9   B.      Cross-motions for Summary Judgment
                                                                         10           1.     In re Monterey Referendum
                                                                         11           The controversy in this consolidated case is purely a legal dispute, namely, is there sufficient
United States District Court
                               For the Northern District of California




                                                                         12   legal similarity between a recall petition and a referendum petition that Padilla is controlling
                                                                         13   authority? The Court evaluates the Referendum process to determine whether there is any
                                                                         14   meaningful distinction between that process and the recall process addressed by Padilla.
                                                                         15                  a.      The Referendum Process in California
                                                                         16           The constitutional referendum power is the right reserved to the people to approve or reject
                                                                         17   statutes or parts of statutes that have been enacted by a legislative body. Cal. Const., art. II, sec.
                                                                         18   9(a). The procedures governing introduction and passage of a referendum against a City or County
                                                                         19   ordinance are set forth in Cal. Elec. Code sections 9235-9247 and 9140-9147, respectively.
                                                                         20           To initiate the referendum process, the opponent of the ordinance must:
                                                                         21           1)     First circulate a petition and obtain the requisite number of voter signatures to qualify
                                                                         22                  the petition. See generally, Cal. Elec. Code § 9237.
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28                                                       11
                                                                                 Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 12 of 17



                                                                          1           2)     Each referendum petition must contain a caption at the top of each page stating
                                                                          2                  “Referendum Against an Ordinance Passed by the City Council.”8 Id. at §§ 9238 (a)
                                                                          3                  and 9147(a).
                                                                          4           3)     Each section of the petition must provide a) the identifying number or title of the
                                                                          5                  ordinance, b) relevant text of the ordinance being challenged, and c) petitions
                                                                          6                  challenging a City ordinance must additionally attach a declaration of the petition
                                                                          7                  circulator stating his or her residence address at the time of the execution of the
                                                                          8                  declaration and qualification to register as a voter of the City. Id. at § 9238 (b), (c)
                                                                          9                  and 9147(b).
                                                                         10           If the opponent of the statute gathers the requisite number of signatures, he or she must file a
                                                                         11   signed petition with the relevant City or County within 30 days after adoption, but before the
United States District Court
                               For the Northern District of California




                                                                         12   ordinance goes into effect. Cal. Elec. Code §§ 9242 and 9144. City and County ordinances become
                                                                         13   effective 30 days after adoption. Id. at §§ 9235 and 9141(b). If a referendum petition is submitted
                                                                         14   within 30 days of the adoption of the challenged ordinance, then the “effective date of the ordinance
                                                                         15   [is] suspended and the legislative body [is required] to reconsider the ordinance.” Id. at §§ 9237 and
                                                                         16   9144.
                                                                         17           Following the filing of a petition challenging a city ordinance, the City must examine
                                                                         18   sufficiency of the petition, validity of signatures, and all the other procedural requirements as set
                                                                         19   forth in Cal. Elec. Code sections 9114-15, 9210, 100, 104, and 105. The City is then required to
                                                                         20   certify that a sufficient number of valid signatures have been obtained. Cal. Elec. Code § 9239-40.
                                                                         21   If the petition is challenging a County ordinance, the County is required to review the petition to
                                                                         22   ensure that it complies with all of the procedural requirements set out in Cal. Elec. Code § 9100 et
                                                                         23   seq., which are the same as the requirements for an initiative petition. Id. at § 9146. Following this
                                                                         24   examination, the City Council or Board of Board of Supervisors has two options. First, the City
                                                                         25
                                                                         26           8
                                                                                      For petitions opposing a County ordinance, the heading must read “Referendum Against an
                                                                              Ordinance Passed by the Board of Supervisors. Cal. Elec. Code § 9147(a).
                                                                         27
                                                                         28                                                      12
                                                                                 Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 13 of 17



                                                                          1   Council or Board of Supervisors may repeal the ordinance against which the petition is filed without
                                                                          2   submitting it to the public vote. Id. at §§ 9241 and 9145. Alternatively, the Council may submit the
                                                                          3   matter to a vote of the public at either a general or special election. Id.
                                                                          4                   b.      Padilla v. Lever
                                                                          5           The en banc Padilla decision primarily focused on whether the recall petitions circulated by
                                                                          6   the proponents of the recall were subject to Section 203 because they were “provided” by the
                                                                          7   county. 463 F.3d at 1050.
                                                                          8           Section 203 of the Voting Rights Act is codified at 42 U.S.C. § 1973aa-1a. Section 203
                                                                          9   provides:
                                                                         10           Whenever any State or political subdivision subject to the prohibition of subsection (b) of
                                                                                      this section provides any registration or voting notices, forms, instructions, assistance, or
                                                                         11           other materials or information relating to the electoral process, including ballots, it shall
United States District Court




                                                                                      provide them in the language of the applicable minority group as well as in the English
                               For the Northern District of California




                                                                         12           language.
                                                                         13   42 U.S.C. § 1973aa-1a(c).
                                                                         14           The Padilla Court held that regulatory processes do not transform petitions “privately
                                                                         15   initiated, drafted, and circulated by the proponents into petitions ‘provided’ by the County for
                                                                         16   purposes of the Voting Rights Act.” Id. at 1051. (emphasis added.) From this, the Court derives
                                                                         17   that a petition is not provided by the County if it is 1) privately initiated, 2) drafted, and 3) circulated
                                                                         18   by proponents of the petitions.
                                                                         19           The County does not dispute that the Referendum petition was privately initiated and
                                                                         20   circulated by certain citizens in the County of Monterey. The County contends, however, that the
                                                                         21   County has an integral role in the Referendum process and that the content of the Referendum is
                                                                         22   essentially drafted by the government.
                                                                         23           First, among the regulatory processes, the County contends that the government plays an
                                                                         24   integral role to ensure that a referendum petition conforms to the statutory requirements. They are:
                                                                         25           (1)     The Code has specific requirements as to the information required of petition signers;
                                                                         26           (2)     There are time limits on when the petition may be filed;
                                                                         27
                                                                         28                                                       13
                                                                                 Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 14 of 17



                                                                          1          (3)     The local elections officer must examine and verify the number of valid signatures on
                                                                          2                  the petition, and is provided with detailed direction on how to do so.
                                                                          3          (4)     The Registrar is required to forward the measure to the County Counsel for
                                                                          4                  preparation of an impartial analysis of the measure and its effect on existing law, and
                                                                          5                  if necessary the county auditor may be required for a similar analysis of the fiscal
                                                                          6                  effect of the ordinance.
                                                                          7          (5)     The County actually supplies the text that is before the signers of the petition.
                                                                          8   The Court finds that the first two steps described by the County are regulatory in nature. The en
                                                                          9   banc opinion explains:
                                                                         10          It is true that California regulates recall petitions in some detail. The petitions must follow a
                                                                                     format provided by the Secretary of State, and must use a minimum type size. [internal
                                                                         11          citations.] The petition also must include a copy of the Notice of Intention, the statement of
United States District Court




                                                                                     grounds for recall, and the answer of the targeted officer if the officer submitted one.
                               For the Northern District of California




                                                                         12          [internal citations.] But these regulations do not mean that the petitions are provided by the
                                                                                     State or subdivision. The form is regulated by the State, but the proponents fill out the
                                                                         13          petition, supply the grounds of recall, and have the petitions printed at their own expense.
                                                                                     The fact that, under Cal. Elec. Code § 1104(a), the Secretary of State “provides” the format
                                                                         14          does not mean that the State “provides” the petitions themselves within the meaning of the
                                                                                     Voting Rights Act.
                                                                         15
                                                                              Padilla, 463 F.3d at 1051. (emphasis in the original.)
                                                                         16
                                                                                     Second, the fact that election officials must later verify the signatures on the petition or that
                                                                         17
                                                                              the County Counsel prepares a separate analysis of the Referendum is not dispositive. The word
                                                                         18
                                                                              “provides” connotes that the involvement by the County must occur before the petition is circulated.
                                                                         19
                                                                              As described by the County, the Referendum petition does not get submitted to the election officials
                                                                         20
                                                                              or the County Counsel for review until after it has been circulated. The Counsel report does not
                                                                         21
                                                                              become part of the Referendum, but rather is an advisory report submitted to the Board of
                                                                         22
                                                                              Supervisors to weigh the impact on existing law. While this precise issue was not addressed in
                                                                         23
                                                                              Padilla, the Court finds that because it occurs after the petition has already been circulated for
                                                                         24
                                                                              signatures, it falls into the “regulatory process.”
                                                                         25
                                                                                     Finally, the County contends that the government drafts the Referendum, because the code
                                                                         26
                                                                              requires that the text of the ordinance being challenged be replicated in the petition itself. While this
                                                                         27
                                                                         28                                                         14
                                                                                    Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 15 of 17



                                                                          1   issue was not precisely addressed by Padilla, that Court addressed a similar problem. The plaintiffs
                                                                          2   in Padilla argued that “because the election officials are charged under state law with ascertaining
                                                                          3   whether proposed form and wording of the petition meets the requirements of the [election code]
                                                                          4   [internal citations], they are dictating the content of the petitions to the degree that the petitions may
                                                                          5   be said to be ‘provided’ by the county.” 460 F.3d at 1051. (emphasis in original.) With respect to
                                                                          6   the “wording” requirement, the en banc Court explained:
                                                                          7            But there is nothing in the chapter governing elections that specifies the actual wording that
                                                                                       proponents must use, for example, in stating their grounds for recall. Nor does the record
                                                                          8            contain any hint that the election officials determine the contents of the petition; they merely
                                                                                       make sure that the petitions are in the form specified by statute. It is not reasonable to hold
                                                                          9            that this regulatory process transforms petitions privately initiated, drafted, and circulated by
                                                                                       the proponents into petitions “provided” by the County for the purposes of the Voting Rights
                                                                         10            Act.
                                                                              Id.
                                                                         11
United States District Court




                                                                                       The Court finds that the County has misconstrued the phrase “actual wording” described in
                               For the Northern District of California




                                                                         12
                                                                              the above text. While it is true that the code requires proponents to copy of exact text of the
                                                                         13
                                                                              ordinance being challenged, the purpose of this requirement to inform the signers of the ordinance
                                                                         14
                                                                              being challenged. To the extent that the County provided “actual wording,” it provided the language
                                                                         15
                                                                              of the ordinance that is the subject of the Referendum. It does not follow from inclusion of the
                                                                         16
                                                                              ordinance that the County is providing the Referendum petition itself.
                                                                         17
                                                                                       The Court finds that the Referendum at issue was privately initiated, drafted, and circulated
                                                                         18
                                                                              by its proponents and thus, is not subject to the dual-language requirement of Section 203 of the
                                                                         19
                                                                              Voting Rights Act.
                                                                         20
                                                                                       2.     In re County of Monterey Initiative Matter
                                                                         21
                                                                                       In this consolidated action, Rosario Madrigal, et al., v. County of Monterey, et al., C 06-
                                                                         22
                                                                              01407, has been dismissed without prejudice pursuant to the Stipulation for Voluntary Dismissal.
                                                                         23
                                                                              (See Docket Item No. 47.) In the remaining case, William Melendez, et al., v. Board of Supervisors
                                                                         24
                                                                              of the County of Monterey, et al., C 06-1730, the Melendez Plaintiffs contend that because County
                                                                         25
                                                                              has agreed to submit the Initiative to a vote of the County electorate at the June 5, 2007 election,
                                                                         26
                                                                              there is no longer a basis for federal jurisdiction. The Melendez Plaintiffs seek a remand to the state
                                                                         27
                                                                         28                                                       15
                                                                                 Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 16 of 17



                                                                          1   court, or in the alternative seek (1) a declaration that the County violated its duties under the
                                                                          2   California Constitution and the California Elections Code by refusing either to adopt the Initiative
                                                                          3   without alteration or to submit it to a vote of the people; (2) an injunction requiring the County
                                                                          4   either to adopt the Initiative without alteration, or to submit the Initiative to the voters of the County
                                                                          5   at the next county election.
                                                                          6          The Court finds that bifurcation of the federal and state law issues is judicially inefficient.
                                                                          7   The remedies prayed for in the Melendez Plaintiffs’ state court Complaint do not differ from the
                                                                          8   remedies the Court will provide, namely, injunctive relief. There is no longer an objection by the
                                                                          9   Madrigal Plaintiffs that the Initiative violates Section 203. The County has represented in its papers
                                                                         10   that it will place the Initiative on the June 2007 ballot. Accordingly, the Court GRANTS the
                                                                         11   Melendez Plaintiffs an injunction requiring the County to submit the Initiative, without alteration, to
United States District Court
                               For the Northern District of California




                                                                         12   the voters of the County at the June 5, 2007 county election.
                                                                         13                                             IV. CONCLUSION
                                                                         14          The Court DENIES the Rangel Plaintiffs’ Request for the Convening of a Three-Judge Court
                                                                         15   in the In re Monterey Referendum case. The Court GRANTS the Melendez and Rancho Plaintiffs’
                                                                         16   motions for summary judgment and ORDERS as follows: The County of Monterey shall submit (1)
                                                                         17   the Monterey County Quality of Life, Affordable Housing, and Voter Control Initiative and (2) the
                                                                         18   Referendum Against Resolution No. 05-305, in their entirety and without alteration, to the voters of
                                                                         19   Monterey County at the June 5, 2007 county election.
                                                                         20
                                                                         21   Dated: March 29, 2007
                                                                                                                                         JAMES WARE
                                                                         22                                                              United States District Judge
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28                                                       16
                                                                                Case 5:06-cv-01407-JW Document 66 Filed 03/29/07 Page 17 of 17



                                                                          1   THIS IS TO CERTIFY THAT COPIES OF THIS ORDER HAVE BEEN DELIVERED TO:
                                                                          2   Ciaran O’Sullivan cosullivan@nossaman.com
                                                                              Fredric D. Woocher fwoocher@strumwooch.com
                                                                          3   Joaquin Guadalupe Avila avilaj@seattleu.edu
                                                                              Leroy W. Blankenship blankenshipl@co.monterey.ca.us
                                                                          4   Michael J. Strumwasser mstrumwasser@strumwooch.com
                                                                              Stephen N. Roberts sroberts@nossaman.com
                                                                          5
                                                                          6   Dated: March 29, 2007                          Richard W. Wieking, Clerk
                                                                          7
                                                                                                                             By:    /s/ JW Chambers
                                                                          8                                                         Elizabeth Garcia
                                                                                                                                    Courtroom Deputy
                                                                          9
                                                                         10
                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28
